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 1   D. NEAL TOMLINSON
     Nevada Bar No. 06851
 2   neal@hyperionlegal.com
     KRISTINA R. KLEIST
 3   Nevada Bar No. 13520
     kristina@hyperionlegal.com
 4   Hyperion Advisors
     3960 Howard Hughes Parkway, Suite 500
 5   Las Vegas, Nevada 89169
     Telephone: (702) 990-3901
 6   Fax: (702) 999-3501
 7   Attorneys for Defendants
 8
                                  UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10

11    FEDERAL TRADE COMMISSION,                        Case No. 2:16-cv-02022-GMN-VCF
12           Plaintiff,
13           v.                                        STIPULATION AND [PROPOSED]
                                                       ORDER TO EXTEND RESPONSE
14    OMICS GROUP INC., et al.,                        DEADLINE
15           Defendants.
16

17          Defendants, OMICS GROUP INC., IMEDPUB LLC, CONFERENCE SERIES LLC,

18   and SRINUBABU GEDELA, by and through counsel of record, D. Neal Tomlinson and

19   Kristina R. Kleist, and Plaintiff, FEDERAL TRADE COMMISSION, by and through counsel of

20   record, Gregory A. Ashe and Michael E. Tankersley, hereby agree and stipulate as follows:

21          1. On May 1, 2018, Plaintiff filed its Motion to for Summary Judgment, (Dkt. No. 86).

22          2. Defendants also filed their Motion for Summary Judgment on May 1, 2018 (Dkt. No.

23                89).

24          3. Plaintiff’s Motion for Summary Judgment is quite extensive, being over 50 pages

25                itself and referencing 27 exhibits, including a declaration with exhibits of over 1,000

26                pages.
27          4. Plaintiff filed their Opposition to Defendants’ Motion for Summary Judgment on

28                May 22, 2018 (Dkt. No. 97).

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 1        5. Plaintiff also filed a Motion to Strike the Declaration of Kishore Vattikoti, part of

 2           Defendants’ Motion for Summary Judgment, on May 22, 2018 (Dkt. No. 96).

 3        6. This Court granted a stipulation for extension of time for the parties to respond to the

 4           respective Motions for Summary Judgment (Dkt. No. 98).

 5        7. The parties filed a second stipulation for extension of time to respond to the

 6           respective Motions for Summary Judgment to June 8, 2018 (Dkt. No. 99).

 7        8. Currently, pursuant to stipulation, responses to the Motions for Summary Judgment

 8           are due on June 8, 2018 and Defendants’ response to the Motion to Strike the

 9           Declaration of Kishore Vattikoti is due on June 8, 2018.

10        9. Additionally, because Plaintiff has already filed their Opposition to Defendants’

11           Motion for Summary Judgment, Defendants’ Reply is due June 8, 2018.

12        10. Defense counsel has been dealing with multiple family medical issues that have

13           required counsel to be out of the office, and additional time is needed to confer with

14           Defendants and respond to the pending filings.

15        11. In addition, additional time is necessary due to the fact that all Defendants are

16           located in India, and that language, time zones and geographical barriers have

17           presented significant challenges in that defense counsel has encountered difficulty

18           explaining and communicating with the Defendants regarding the many issues and

19           complexities of the pending motions.

20        12. Plaintiff’s counsel has agreed to extend the June 8, 2018 response date to the Motion

21           for Summary Judgment and the June 8, 2018 response date for the Motion to Strike

22           and the Reply to Plaintiff’s Opposition to Defendants’ Motion for Summary

23           Judgment to June 22, 2018.

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 1          13. This Stipulation is being made in good faith between and at the request of both

 2              parties, and not for purposes of delay.

 3   HYPERION ADVISORS                                    FEDERAL TRADE COMMISSION
 4   Dated this 7th day of June, 2018.                    Dated this 7th day of June, 2018.
 5    /s/ D. Neal Tomlinson                                /s/ Gregory A. Ashe
     D. NEAL TOMLINSON                                    ALDEN F. ABBOTT
 6                                                        General Counsel
     Nevada Bar No. 06851
     KRISTINA R. KLEIST                                   GREGORY A. ASHE
 7                                                        MICHAEL E. TANKERSLEY
     Nevada Bar No. 13520
                                                          Federal Trade Commission
 8   3960 Howard Hughes Parkway, Suite 500                600 Pennsylvania Avenue NW
     Las Vegas, Nevada 89169                              Washington, DC 20850
 9
     Attorneys for Defendants                             Attorneys for Plaintiff
10

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12
                                                  ORDER
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14          Pursuant to the stipulation of the parties, the deadline for Defendants to file their

15   response to Plaintiff’s Motion for Summary Judgment, their reply to Plaintiff’s Opposition to

16   Defendants’ Motion for Summary Judgment, and their response to Plaintiff’s Motion to Strike is
17   hereby extended to June 22, 2018.
18
     IT IS SO ORDERED.
19                      20
            Dated this _____ day of June, 2018.
20

21

22                                                          Gloria M. Navarro, Chief Judge
     Respectfully submitted by:
                                                            UNITED STATES DISTRICT COURT
23
     HYPERION ADVISORS
24
     /s/ D. Neal Tomlinson
25
     D. NEAL TOMLINSON
26   Nevada Bar No. 06851
     KRISTINA KLEIST
27   Nevada Bar No. 13520
     Attorneys for Defendants
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                                     CERTIFICATE OF SERVICE
 1

 2          The undersigned hereby certifies that on June 7, 2018, a true and correct copy of the
 3   foregoing STIPULATION AND [PROPOSED] ORDER TO EXTEND RESPONSE
 4   DEADLINE was filed electronically with the United States District Court for the District of
 5   Nevada using the CM/ECF system, which sent notification to all parties of interest participating
 6   in the CM/ECF system.
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 9                                                         /s/ D. Neal Tomlinson
                                                           Attorney for Defendants
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